Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 1 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 2 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 3 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 4 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 5 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 6 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 7 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 8 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 9 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 10 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 11 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 12 of 13
Case 1:09-cr-10166-MLW Document 604 Filed 06/16/11 Page 13 of 13
